PRoa.12 Case 2:02-cr-20367-.]DB Document 38 Filed 08/25/05 Pagelon Page|D 51
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UNITED STATES ])ISTRICT COURT FH_ED BY '- 0
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WESTERN DISTRICT OF TENNESSEE pamela GJJ
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U. S. A. vs. Natosha Andersoo Docket No. 2: 02CR20367-01

Petition on Prohation and Supervised Release

COMES N()W Dgyl K. Butler I’ROBATION OFFICER OF THE COURT presenting an ofiicial
report upon the conduct and attitude of Natosha Anderson who was placed on supervision by the Honorable L
Daniel Breen sitting in the Court at Mernnhis. TN on the 29th day of September, 2003, who fixed the period of
supervision at two (2) years , and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

l. The defendant shall pay restitution in the amount of $2,138.00. (Balance: $1,878.00)

2. The defendant shall provide full financial disclosure to the Probation OHicer.

3. The defendant shall not open additional lines of credit Without approval of the Probation Ofiicer.

4. The defendant shall Submit to drug testing and treatment as deemed appropriate by the Probation Ofiicer.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant failed to pay $2,138.00 restitution as ordered by the Court.

Natosha Anderson is unable to satisfy the restitution as ordered by the Court. Although she has made infrequent
monthly payments, it is believed she has paid to the best of her financial ability, given her necessary living expenses
versus her income. As of August 19, 2005 , she has made a total of $260.00, leaving an unpaid balance of $l ,878.00.
lt Should be noted that Ms. Anderson paid her $100.00 Special Assessment in hill Ms. Anderson has signed an
agreement with the U.S. Attorney Financial Litigation Unit to continue payments in the amount of $20.00 per
month, With the payment amount being reviewed periodically

PRAYING THAT THE COURT WILL ORDER Natosha Anderson’s Probation be allowed to expire as
scheduled on Septernber 28, 2005, With the understanding that the United States Attorney’S Ofiice will be
responsible for the continued collection of the restitution.

  

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:02-CR-20367 was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

